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AO 91 (Rev. 11/11 ) Criminal Complaint


                                      UNITED S TATES DISTRICT COURT
                                                                 for the
                                                         District of ebraska

                  United States of America                          )
                                 V.                                 )
                                                                    )      Case    o. 8: 17MJ217..------z--:-r~~~--•
                   TRAYNELL 0 . TONEY                                                                               I
                                                                    )
                                                                                                         US DISTRICT COURT
                                                                    )                                  DISTl'\ICT OF NEBRASKA
                                                                    )
                                                                    )                                          JUN 1 5 2017
                           Defendant(s)


                                                 CRIMINAL COMPLAINT                                     OFFICE OF THE CLERK

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     June 2, 2017                in the county of               Douglas             in the
                        District of           Nebraska
                                         ~~~~~~~~
                                                                , the defendant(s) violated:

             Code Section                                                      Offe nse Description
18 U.S .C . § 2113{a)                           On or about the 2nd day of June, 2017, in the District of Nebraska, the
                                                defendant, Traynell D. Toney, by force , violence and intimidation did
                                                take from the person or presence of another money, namely $3 , 170.00,
                                                belonging to and in the care, custody, control , management, and
                                                possession of the U.S. Bank, a bank whose deposits were then insured
                                                by the Federal Deposit Insurance Corporation .

                                                 In violation of Title 18, United States Code , Section 21 13(a).
          T his criminal complaint is based on these facts:

See Attached Affidavit




          ~ Continued on the attached sheet.




                                                                                              S.A. John D. Hallock, FBI
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.


Date :   (O ·     IS -f]
City and state:                          Omaha , Nebraska
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 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

  DISTRICT OF NEBRASKA                       )
                                             )    SS.        Affidavit of SA John D. Hallock
  COUNTY OF DOUGLAS                         )




       I, John D. Hallock, having been first duly sworn, do hereby depose and state as fo llows:



                                      INTRODUCTION

        1.     I am a Special Agent (SA) of the Federal Bureau of Investigation (FBI), and have

been so employed for approximately fifteen (l 5) years . I am currently assigned to the FBI

Omaha Division, Violent Crimes Squad, Greater Omaha Bank Robbery Task Force (GOBRTF),

where I am responsible for investigating v iolations of various criminal statutes, including those

pertaining to Bank Robbery, in violation of Title 18, United States Code, Section 2 11 3(a) and 2.

I have been the Case Agent and have assisted in violent crimes and Bank Robbery investigations,

which have resulted in search warrants, arrests, and the seizure of forfeiture and assets. Prior to

joining the FBI, I served in the Un ited States Air Force (USAF), both active duty and National

Guard for 8 Y:z years, and then served as a police officer for seven years.

       2.      I have received relevant training in violent crime and Bank Robbery

investigations from the FBI Academy in Quantico, Virginia. I have also acquired knowledge and

information about the means and methods of violent crimes to include Bank Larceny, to include

informal training, other law enforcement officers and investigators, informants, persons whom I

have arrested and/or interviewed, and my participation in multiple investigations related to Bank
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Robbery investigations. The aforementioned investigations ultimately led to the arrests and

convictions "Of those persons who violated those federal crimes.



                                PURPOSE OF THIS AFFIDAVIT

       3.      This affidavit is submitted in support of a criminal complaint and arrest warrant

for TRA YNELL DUPREE TONEY, a black male, born in 1993. Since this affidavit is being

submitted for the limited purpose of securing an arrest warrant, I have not set forth each and

every fact known to me regarding this investigation. The statements contained in this affidavit

are based in part on the investigation that I have conducted and information provided to me by

other law enforcement officers verbally, and through written reports.



                              OVERVIEW OF INVESTIGATION

       4.      On June 2, 201 7, at approximately 12:22 p.m., your affiant was notified through

the FBI Omaha Division Radio Room that a bank robbery took place at the US Bank, located

inside the Baker's Supermarket, 5555 North 90 1h Street, Omaha, Nebraska. The US Bank is

federally insured by the Federal Deposit Insurance Corporation (FDIC) and is assigned FDIC

Number 5134-9. The victim bank teller (whom I will identify as DS) stated that the bank robber

approached DS and provided DS with a demand note that read something to the effect of "Gun

in my hoodie, Give me all the money, or I will kill you. No dye - make it fast." DS then

provided the bank robber $3, 170.00 in United States currency and an Electronic Tracking

System (ETS) Tracker Pack, wh ich was included in the United States currency. DS and other

witnesses described the bank robber as a black male, in his earl y 20's, approximately 5'6" tall


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and weighing 145 pounds. DS and other witnesses reported that the bank robber was wearing

dark clothing, to include a gray or black hooded sweatshirt, a black or blue baseball cap, black

pants, and mirrored sunglasses.

       5.     After the bank robbery occurred, witnesses reported that the bank robber ran out of

the bank, and entered into a black co lored sedan in the parking lot, which was reported to be

possibl y a   issan model vehicle. The ETS showed that the bank robber traveled north on 901h

Street, to Westbound Military Avenue, southbound on 99•h Street continuing through Fort Street

onto Parkview Drive, where the ETS was recovered near the comer of Parkview Dri ve and

Larimore Street in Omaha,     ebraska. Video surveillance was obtained from a nearby residence

which captured a dark colored sedan traveling at a high rate of speed along the route of travel.

       5.      On June 2, 201 7, the FBI Omaha Division Evidence Response Team (ERT)

responded to the US Bank at 5555 North 901h Street and processed the crime scene. Evidence

collected at the scene included the robbery demand note left at the teller counter, the ETS which

was recovered near the comer of Parkview Drive and Larimore Street, and a Mountain Dew

Bottle which was recovered in the Baker's Supermarket. A witness, who is an employee at

Baker's Supermarket, reported that before the bank robbery occurred, the bank robber walked

into the Baker's Supermarket, and stood behind a potato chip stand and started staring at the

bank. The witness reported that the bank robber selected a Mountain Dew Bottle from a cooler,

walked away from the potato chip stand, and then placed the Mountain Dew Bottle in another

coo ler. The witness reported that the bank robber then walked to the customer service area of

Baker's Supermarket where the witness saw that the bank robber was holding a piece of paper

and the bank robber's hand was shaking. The witness reported that the bank robber then walked


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toward the US Bank, and noticed a few minutes later that the bank was closed, and assumed the

bank robber had just robbed the bank.

        6.   On June 9, 201 7, at approximately 11 :52 a.m., your affiant was notified through the

FBI Omaha Division Radio Room that a bank robbery took place at the US Bank, located insi de

the Baker's Supermarket, Eagle Run Baker's Supermarket, 13250 West Maple Road, Omaha,

Nebraska. The victim bank teller (whom I will identify as JA) was presented a demand note that

read "I have a gun. Give me the money or I wi ll kill a customer. No dye no tracker." JA

complied with the bank robber's request, and provided the bank robber with $2,427.00 in United

States currency. JA and other witnesses described the bank robber as a black male, between 18-

25 years old, approximately 5 '5" to 5 '6" tall, weighing 135 pounds, wearing a hooded sweatshirt

with the hood up, a baseball cap, and sunglasses. Witnesses stated that after the bank robbery

occurred, the bank robber fled the bank.

       7.    On June 9, 20 17, the FBI ERT Team responded to the crime scene at the Baker's

Supermarket Eagle Run US Bank, 13250 West Maple Road, Omaha, Nebraska for purposes of

evidence collection. Evidence collected at the scene included the robbery demand note, two

fingerprints lifted from the US Bank teller counter, and elim ination prints of employees that

touched the demand note .

       8.    Video Survei llance Photographs of both above-mentioned bank robberies were

provided to the Omaha Police Department (OPD) Public Information Office (PIO) in which the

images were distributed to the local media. A comparison of the video surveillance

photographs of both bank robberies revealed that the robber in both banks had very sim ilar

physical characteristics. On June 9, 20 17, a Crimestoppers Tip was received by the OPD where


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the subject named in the robberies was TRA YNELL TONEY. On June 12, 20 17, the collected

evidence from the two robberies was taken to the Douglas County,    ebraska Sheriffs Office

(DCSO) for purposes of latent fingerprint testing.

       9.    On June 12, 20 17, the investigation determined that TONEY was either currently

employed or previously employed at JMS Manufacturing Inc., located at 8805 Vernon Avenue,

Omaha, Nebraska. On June 12, 20 17, your affiant and OPD Detective Jon Martin made contact

with the manager of JMS Manufacturing Inc. , whom I will identify as LA. LA reported that

TONEY is currently employed at JMS Manufacturing Inc. , and described TONEY as a pretty

good worker. LA checked the time cards for TONEY, and reported that, based on the time

cards, TONEY was not at work on June 2, 2017 (the day of the US Bank robbery at 5555 North

90 1h Street) and called in sick on June 9, 2017 (the day of the US Bank robbery at 13250 West

Maple Road). LA reported that TO EY works the 3 :00 p.m. to 11 :00 p.m. at JMS

Manufacturing Inc.

       10.   On June 14, 2017, the DCSO, Forensics Services Division, reported that three

latent fingerprints of importance were developed from the June 2, 2017 US Bank robbery at

5555 North 901h Street, Omaha, Nebraska (one print developed on the robbery note and two

prints developed on the Mountain Dew bottle) which were identical to TRA YNELL DUPREE

TONEY, a black male, born in 1993.

      11.    On June 14, 2017, members of the GOBRTF went to JMS Manufacturing Inc. in

order to locate TONEY. At approximately 3:05 p.m., TONEY arrived at JMS Manufacturing

Inc. in a gray 2015 Nissan Sentra, with Nebraska License TYL 171. The vehicle matched the

description of the vehicle that fled the June 2, 2017 US Bank robbery. TONEY, who was in the


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passenger seat of the vehicle, was taken into custody without incident and was transported to the

OPD Central Headquarters for purposes of an interview.

       12.    On June 14, 2017, OPD Detective Jon Martin, who is assigned to the GOBRTF,

interviewed TONEY after TONEY waived his Miranda rights. TONEY admitted to robbing the

US Bank at 5555 North 901h Street, Omaha, Nebraska on June 2, 201 7, and robbing the US Bank

at 13250 West Maple Road, Omaha, Nebraska on June 9, 2017. TONEY stated that he was

having trouble financially, and used the United States currency to gamble on the National

Basketball Association (NBA) Finals, and used the United States currency for food and rent.

TONEY stated that he used his girlfriend's 20 15 gray Nissan Sentra to commit the robberies, as

TONEY explained that his girlfriend was asleep and he took the vehicle without her knowledge

to commit the robberies.



                  CRIMINAL HISTORY OF TRA YNELL DUPREE TONEY

       12.     TONEY is a black male, born in 1993, with black hair and brown eyes. A

criminal records check for TONEY indicates he possesses FBI record number 343312AE9 and

Nebraska Identification Number NB572 186. TONEY has been arrested for Receiving Stolen

Property, Possession of Marijuana (Omaha Police Department 04/1 0/2014); carrying a

Concealed Weapon, Possession of Marijuana (Omaha Police Department 06/17/2014); and

Trespassing and Shoplifting (Omaha Police Department 12/26/20 14).

       13.     Based upon the above facts and circumstances, I believe sufficient probable cause

ex ists to authorize a criminal complaint and arrest warrant for TRAYNELL DUPREE TONEY,




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regarding the violations of Bank Robbery, in violation of Title 18, United tates Code, Section

2113(a) and 2.


                                            JO
                                            Spec al gent
                                            Fed    Bureau of Investigation



Subscribed and sworn before me this   J5. day of June 2017.

Susan M. Bazis
United States Magis
District of Nebraska




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